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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
GUSTAVO A PENATE, et al.,                                      :

                                                             :     ORDER
                          Plaintiffs,                              19 Civ. 8767 (VEC) (GWG)
                                                             :
        -v.-

                                                             :
DBTG CHAMBERS LLC et al.,
                                                             :

                           Defendants.                         :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, United States Magistrate Judge

        A telephone conference to discuss settlement in this matter has been scheduled for
Thursday, November 12, 2020, at 3:30 p.m. At that date and time, the parties must dial in to the
Court’s teleconference line: (888)-557-8511, access code: 6642374. The Court will provide to
plaintiffs’ counsel by email a private passcode that is necessary to complete the call. Plaintiffs’
counsel is directed to promptly supply the dial in information (including the passcode) to the pro
se party and to ensure the pro se party has received this Order.

        The date of this conference may be changed, if necessary, pursuant to paragraph 5 of the
enclosed Standing Order In Pro Se Cases Referred for Settlement. The parties are required to
seek a change in the date of the conference if an adjournment would permit necessary discovery
or exchange of information that would make the conference more fruitful.

        At this conference, Judge Gorenstein will act as a mediator, attempting to help the parties
reach agreement on terms of settlement. The process is explained in the attached Standing Order
In Pro Se Cases Referred for Settlement.

        Any counseled party shall send a letter to the Court and to the other side ten (10) days
prior to the conference outlining the facts of the case, any relevant legal authorities, and any
other matters deemed important for consideration as part of the settlement process. The pro se
party may also send such a letter to the Court, with a copy sent to the other side. If sent, the
letters must be kept confidential and will not be admissible in any court proceeding.

        Any attorney on this matter is responsible for ensuring prior to this conference that the
attorney has settlement authority from the client and/or that the client is available to be consulted
by the attorney during the course of the conference.

        Plaintiffs’ counsel is responsible for transmitting this Order to any pro se party, for
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confirming that the pro se party has received it, and for ensuring that the pro se party is aware of
the obligation how to dial into the telephone conference at the above date and time and the
method for doing so.

       SO ORDERED.

Dated: October 21, 2020
       New York, New York

                                                      ______________________________
                                                      GABRIEL W. GORENSTEIN
                                                      United States Magistrate Judge
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                                         UNITED STATES DISTRICT COURT
                                               SOUTHERN DISTRICT OF NEW YORK
                                                     500 PEARL STREET
                                                     NEW YORK, NEW YORK 10007
GABRIEL W. GORENSTEIN
UNITED STATES MAGISTRATE JUDGE




                                 Standing Order In Pro Se Cases Referred for Settlement
                                       to Magistrate Judge Gabriel W. Gorenstein

            Judge Gorenstein has ordered the parties to adhere to the following procedures:

            1.       Settlement conferences are strictly confidential.

            2.       Judge Gorenstein will act as a mediator, attempting to help the parties reach agreement
                     on terms of settlement. The Judge expects to hold only one settlement conference. .

            3.       At the settlement conference, all parties will be given the opportunity to make a brief
                     presentation (5 minutes) summarizing the case. The presentation should be simple and
                     straightforward.

            4.       Following the presentations, the Judge will talk separately and privately with each side.

            5.       The date of the settlement conference may be changed. The parties are required to seek a
                     change in the date of the conference if a change would permit exchange of information
                     that one side believes is necessary. To seek a change in date, the party should first
                     contact Chambers at (212) 805-4260 to determine an alternate available date and time.
                     The party should thereupon consult with all other parties as to their availability on such
                     date. The party must thereafter make a written request to the Judge by letter filed on
                     ECF requesting a new date that is available for the Judge and agreed to by all parties.
                     The conference is not adjourned unless the parties are thereafter informed by the Court
                     that the written request has been granted.

            6.       Even though a settlement conference has been scheduled, all deadlines and other
                     obligations in the case remain in effect.
